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7                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
8

9      CURT JACEY,                                ) Case No. 2:16-cv-04592-ODW-MRW
                                                  )
10     Plaintiff(s)                               ) NOTICE OF VOLUNTARY
11                                                ) DISMISSAL WITH PREJUDICE
              vs.
12                                                )
                                                  )
13     SYNCHRONY BANK,
                                                  )
14     Defendant.                                 )
                                                  )
15

16            NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of
17     Civil Procedure 41(a)(1), hereby voluntarily dismisses the entire case with
18     prejudice. Defendant has neither answered Plaintiff’s Complaint, nor filed a
19     motion for summary judgment. Accordingly, this matter may be dismissed with
20     prejudice and without an Order of the Court.
21

22
              RESPECTFULLY SUBMITTED this 16th day of August, 2016.
23

24                              By:    s/Todd M. Friedman
25
                                       Todd M. Friedman, Esq.
                                       Law Offices of Todd M. Friedman, P.C.
26                                     Attorney for Plaintiff
27

28




                                         Notice of Dismissal - 1
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1      Filed electronically on this 16th day of August, 2016, with:
2
       United States District Court CM/ECF system
3

4      And hereby served upon all parties
5
       Notification sent on this 16th day of August, 2016, via the ECF system to:
6

7      Honorable Otis D. Wright
       United States District Court
8
       Eastern District of California
9
       Raagini Shah
10
       REED SMITH LLP
11

12
       This 16th day of August, 2016.
13
       By: s/Todd M. Friedman
14         Todd M. Friedman
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                                         Notice of Dismissal - 2
